8:09-cr-00287-LES-TDT   Doc # 38   Filed: 12/03/09   Page 1 of 2 - Page ID # 148



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:09CR287
                              )
          v.                  )
                              )
YER YANG,                     )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on the findings and

recommendation (Filing No. 35) of the magistrate judge,

recommending that the motion to suppress (Filing No. 25) be

denied.   The Court has reviewed the motion to suppress and

request for evidentiary hearing, the brief in support of the

motion (Filing No. 26), and the plaintiff’s brief in opposition

thereto (Filing No. 29), as well as the transcript of the hearing

(Filing No. 34), and finds that the findings and recommendation

of the magistrate judge should be approved and adopted.

Accordingly,

          IT IS ORDERED:

          1) The findings and recommendation of the magistrate

judge are approved and adopted.       The motion to suppress is

denied.

          2) Defendant’s objection and appeal regarding the

report and recommendation is overruled; the request for oral

argument is denied.
8:09-cr-00287-LES-TDT   Doc # 38   Filed: 12/03/09    Page 2 of 2 - Page ID # 149



          3) Trial of this matter is scheduled for:

                Tuesday, January 19, 2010, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.     This will give the parties time to

pursue plea negotiations or prepare for trial, and the ends of

justice will be served by continuing this case and outweigh the

interests of the public and the defendant in a speedy trial.                  The

additional time between December 3, 2009, and January 19, 2010,

shall be deemed excludable time in any computation of time under

the requirement of the Speedy Trial Act.             18 U.S.C.

§ 3161(h)(8)(A) & (B).

          DATED this 3rd day of December, 2009.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ___________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court




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